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 1                                                            The Honorable Marsha J. Pechman

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 7                         UNITED STATES DISTRICT COURT

 8                       WESTERN DISTRICT OF WASHINGTON

 9                                       AT SEATTLE

10 STRIKE 3 HOLDINGS, LLC, a Delaware               Case No.: 2:17-cv-01731-MJP
   corporation,
11                                                  DECLARATION OF JOHN S. PASQUALE
                     Plaintiff,                     IN SUPPORT OF PLAINTIFF’S MOTION
12                                                  FOR LEAVE TO SERVE A THIRD
   vs.                                              PARTY SUBPOENA PRIOR TO A RULE
13                                                  26(f) CONFERENCE
   JOHN DOE subscriber assigned IP address
14 73.225.38.130,

15                     Defendant.

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20                         [Remainder of page intentionally left blank]
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27 DECLARATION OF JOHN S. PASQUALE IN                                   FOX ROTHSCHILD LLP
   SUPPORT OF PLAINTIFF’S MOTION – (2:17-                        1001 Fourth Avenue, Suite 4500
28 cv-01731-MJP)                                                              Seattle, WA 98154
                                                                                 (206) 624-3600
                                                1
                                          EXHIBIT C
             Case 2:17-cv-01731-TSZ Document 4-4 Filed 11/29/17 Page 2 of 3



 1   DECLARATION OF JOHN S. PASQUALE IN SUPPORT OF PLAINTIFF’S MOTION
      FOR LEAVE TO SERVE A THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f)
 2                             CONFERENCE
 3          I, John S. Pasquale, do hereby state and declare as follows:

 4          1.      My name is John S. Pasquale. I am over the age of 18 and I am otherwise

 5 competent to make this declaration.

 6          2.      This declaration is based on my personal knowledge and, if called upon to do so,

 7 I will testify that the facts stated herein are true and accurate.

 8          3.      I am a Senior Project Manager with 7 River Systems, LLC a Maryland based

 9 cyber security firm specializing in network security, data breaches, and the protection of secured
10 information transmitted across networks.

11          4.      For over 30 years, I have worked in the IT industry, specializing in system and

12 network administration and project management.

13          5.      I have consulted and advised major financial institutions and Fortune 500

14 companies on the management, security and implementation of major data centers, delivering

15 complex and large scale network projects.

16          6.      I was retained by Strike 3 Holdings, LLC (“Strike 3”) to individually analyze and

17 retain forensic evidence captured by IPP International U.G. (“IPP”).

18          7.      I received a PCAP from IPP containing information relating to the transaction

19 occurring on 09/05/2017 10:40:33 involving IP address 73.225.38.130.
20          8.      I used a program called Wireshark to view the contents of the PCAP.

21          9.      I was able to confirm that IPP recorded the transaction with 73.225.38.130 at

22 09/05/2017 10:40:33.

23          10.     Based on my experience in similar cases, Defendant’s ISP Comcast Cable is the

24 only entity that can correlate the IP address to its subscriber and identify Defendant as the

25 person assigned the IP address 73.225.38.130 during the time of the alleged infringement.

26 Indeed, a subpoena to an ISP is consistently used by civil plaintiffs and law enforcement to
27 identify a subscriber of an IP address.

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         Declaration of John S. Pasquale in Support of Plaintiff’s Motion for Leave to Serve a Third Party
                                    Subpoena Prior to a Rule 26(f) Conference
             Case 2:17-cv-01731-TSZ Document 4-4 Filed 11/29/17 Page 3 of 3



 1                                           DECLARATION
 2          PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the
 3 laws of the United States of America that the foregoing is true and correct.

 4          Executed on this 24th day of November, 2017.
 5                                          JOHN S. PASQUALE
 6                                          By:
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        Declaration of John S. Pasquale in Support of Plaintiff’s Motion for Leave to Serve a Third Party
                                   Subpoena Prior to a Rule 26(f) Conference
